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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

THE COALITION FOR EQUITY AND                             :
EXCELLENCE IN MARYLAND HUGHER                            :
EDUCATION, INC., et al.                                  :
                                                         :
          v.                                             :       Civil Action No. CCB-06-2773
                                                         :
                                                         :
MARYLAND HIGHER EDUCATION                                :
COMMISSION, et al.                                       :

                                           MEMORANDUM

          Plaintiff The Coalition for Equity and Excellence in Maryland Higher Education, Inc.

(“the Coalition”) sued the Maryland Higher Education Commission and the State of Maryland

(collectively “the State”) in 2006 alleging violations of Title VI of the Civil Rights Act of 1964.

The court held a six-week bench trial in 2012, and the court’s findings of fact and conclusions of

law are forthcoming. Now pending are two evidentiary motions. The Coalition has filed a motion

to admit five additional exhibits not offered during trial (ECF No. 359). The State has filed a

motion asking the court to disregard evidence attached to the Coalitions’ response to the State’s

proposed findings of fact and conclusions of law. (ECF No. 369). For the reasons set forth

below, the Coalition’s motion will be granted in part and denied in part and the State’s will be

denied.

          I.      Motion to Admit Five Additional Trial Exhibits

          The Coalition seeks to admit five documents that were not introduced at trial. Each is

addressed below:

          1. PTX 341 & PTX 473 are reports prepared by Morgan State University. The court is

               satisfied that the reports are authentic documents prepared by a state institution, and,

               accordingly, they are admissible as party admissions. However, they appear to be
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             duplicative of the numerous state reports already admitted in this case and no

             testimony was elicited as to their significance. Accordingly, the court will deny the

             Coalition’s motion to admit these documents.

       2. PTX 773 is the State’s brief that was filed in Pearson v. Murray, a 1935 case

             concerning racial segregation in Maryland. This exhibit is admissible as an ancient

             document and because it is a party admission, made by the State decades ago. See

             Briggs v. Dalkon Shield, 174 F.R.D. 369, 374 (D. Md. 1997). Thus, it will be

             admitted.

       3. PTX 369 is an ancient academic article from 1958 concerning desegregation in

             Maryland higher education. The document was referred to by the Coalition in

             opening statements and it is relevant because it is a contemporaneous examination of

             some of the historical issues raised in this case. Accordingly, the document will be

             admitted.

       4. Finally, PTX 168 is a demonstrative exhibit prepared by the Coalition that purports to

             summarize data contained in PTX 608, another exhibit that has already been

             admitted. Thus, the exhibit appears to be duplicative and unnecessary, and it will not

             be admitted.



       II.      Motion to Disregard Plaintiff’s Post Trial Submission of Evidence

       In its proposed findings of fact and conclusions of law (ECF No. 353), the State raised—

after years of litigation—the argument that the Coalition (and all named plaintiffs) lacked

standing to bring this suit. In its response to the State’s proposed findings, the Coalition attached

a variety of exhibits to rebut the State’s sudden focus on standing. Given that the issue was never
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raised at trial and it came as a surprise to the Coalition and the court alike, it is understandable

that evidence and testimony introduced at trial did not, in most cases, speak directly to the

standing issues raised by the State. Thus, the Coalition’s submission of additional evidence to

confront the State’s new argument was appropriate under the circumstances, and the State’s

motion to exclude this evidence will be denied.



       A separate Order follows.




               3/29/13                                                /s/
       Date                                                    Catherine C. Blake
                                                               United States District Judge
